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 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         No. 2:03-cr-371-MCE-EFB P
12                      Respondent,
13          v.                                         ORDER
14   DELESHIA MONET GILBERT,
15                      Movant.
16

17          Movant, who proceeds through counsel, has filed a motion to vacate, set aside, or correct

18   her sentence pursuant to 28 U.S.C. § 2255. ECF No. 1023. Since movant may be entitled to the

19   requested relief, respondent is directed to file a response within sixty days from the date this order

20   is issued. See Rule 4(b), Rules Governing Section 2255 Proceedings. Respondent shall include

21   with any answer any and all transcripts or other documents relevant to the determination of the

22   issues presented in the motion. Rule 5, Rules Governing Section 2255 Proceedings. Movant’s

23   reply, if any, is due on or before thirty days from the date respondent files a response. Id.

24          So ordered.

25   DATED: June 20, 2016.

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